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    IT IS ORDERED as set forth below:



    Date: June 10, 2020
                                                         _____________________________________
                                                                    Wendy L. Hagenau
                                                               U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

       IN RE:                                        :              CHAPTER 13
       MELANIE LAWSON CLARK                          :              CASE NO. A20-61982-WLH
             DEBTOR                                  :

     ORDER DISMISSING CASE AND ENJOINING THE DEBTOR FROM FILING A
         CHAPTER 13 BANKRUPTCY CASE FOR A PERIOD OF 180 DAYS

       On June 3, 2020 at 1:30 p.m., the Court held a hearing on confirmation of the Debtor’s proposed

plan and the Chapter 13 Trustee’s Objection to Confirmation and Motion to Dismiss Case for Cause and

Enjoining the Debtor from Filing a Chapter 13 Bankruptcy Case for a Period of at least 180 Days. The

Trustee filed a Certificate of Service showing service of the Motion and a Notice of Hearing on the

Debtor and Debtor’s Counsel. Counsel for the Trustee and counsel for the Debtor were the only parties

to make an appearance. Debtor’s counsel announced no opposition to the Trustee’s motion. Based upon

review of the record, IT IS HEREBY
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       ORDERED that this case is DISMISSED. It is

       FURTHER ORDERED that pursuant to 11 U.S.C. §§ 349(a) and 1307(c), the Debtor is

enjoined from filing another case under Chapter 13 of Title 11 of the United States Code for a period of

180 days from the entry of this Order without permission of the Court.

        The Clerk of the Court is directed to serve this Order on the parties included on the attached

Distribution List.

                                       END OF DOCUMENT


Presented By:

 /s/
Ryan J. Williams,
Attorney for Chapter 13 Trustee
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                                       DISTRIBUTION LIST

Case Number A20-61982-WLH


                The Clerk of Court shall serve all parties on the Mailing Matrix.
